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DOCKET No.: FST-CV18-6036479-S : SUPERIOR COURT
WILMINGTON TRUST, NATIONAL ASSOCIATION NOT IN : JUDICIAL DISTRICT OF ITS
INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR STAMFORD/NORWALK

VM TRUST SERIES 3, A DELAWARE STATUTORY TRUST
VS. : AT STAMFORD
SUNEETA P KRISHNA AKA, ET AL. : AUGUST 9, 2019

AMENDED COMPLAINT

1. The Plaintiff, WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR VM TRUST SERIES 3, A DELAWARE
STATUTORY TRUST has an office and place of business with an address of 55 Beattie

Place, Suite 110, Greenville, SC 29601.

2. At all times complained of herein, the Defendant(s), SUNEETA P KRISHNA
A/K/A SUNEETA PRASAD, A/K/A SUNEETA PRASAD KRISHNA, A/K/A SUNEETA KRISHNA and
JAYARDMAN KRISHNA A/K/A JAYARAMAN KRISHNA, A/K/A KRIS JAYARAMAN, owned real
property situated in the Town of New Canaan, County of Fairfield and State of
Connecticut known as 1769 Oenoke Ridge, a/k/a 369 Pinney Road, New Canaan, CT
06840, (hereinafter the "Property") being more particularly described in Schedule A

attached hereto and made a part hereof.

O’CONNELL, ATTMORE,& MORRIS, LLC
280 TRUMBULL STREET, HARTFORD, CT 06103-3598
PHONE NO. (860) 548-1300; FAX NO. (860) 548-0023
JURIS NO. 104083

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3. On or about April 17, 2000, the Defendant(s), SUNEETA P KRISHNA A/K/A
SUNEETA PRASAD, A/K/A SUNEETA PRASAD KRISHNA, A/K/A SUNEETA KRISHNA and
JAYARDMAN KRISHNA A/K/A JAYARAMAN KRISHNA, A/K/A KRIS JAYARAMAN, executed
and delivered to Washington Mutual Bank FA, a Note (the "Note") for a loan in the

original principal amount of $1,152,000.00.

4, On said date to secure said Note the Defendant(s), SUNEETA P KRISHNA
A/K/A SUNEETA PRASAD, A/K/A SUNEETA PRASAD KRISHNA, A/K/A SUNEETA KRISHNA and
JAYARDM AN KRISHNA A/K/A JAYARAMAN KRISHNA, A/K/A KRIS JAYARAMAN, did execute
and deliver to Washington Mutual Bank FA, a Mortgage on the Property. Said Mortgage
was dated April 17, 2000 and recorded April 18, 2000 in Volume 531 at Page 857 of the
New Canaan Land Records. Said Mortgage was thereafter assigned by Washington
Mutual Bank FA to EMC Mortgage Corporation by virtue of an Assignment of Mortgage
dated March 20, 2003 and recorded September 7, 2005 in Volume 726 at Page 520 of the
New Canaan Land Records. Said Mortgage was thereafter assigned by EMC Mortgage
LLC F/K/A EMC Mortgage Corporation to Wilmington Trust, National Association, not
in its individual capacity, but solely as Trustee for VM Trust Series 3 by virtue of an

Assignment of Mortgage dated January 7, 2015 and recorded May 21, 2015 in Volume

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936 at Page 826 of the New Canaan Land Records. The Plaintiff, WILMINGTON TRUST,
NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR
VM TRUST SERIES 3, A DELAWARE STATUTORY TRUST, is the holder of said Note, and
Plaintiff has designated New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing
("Shellpoint"), as servicer for the Plaintiff, pursuant to a Limited Power of Attorney.

5. Said Note is in default due to a failure to make the monthly payment pursuant
to the Note and Mortgage due January 1, 2018, and each month thereafter, by Defendants
SUNEETA P KRISHNA A/K/A SUNEETA PRASAD, A/K/A SUNEETA PRASAD KRISHNA, A/K/A
SUNEETA KRISHNA and JAYARDM AN KRISHNA A/K/A JAYARAMAN KRISHNA, A/K/A KRIS
JAYARAMAN and the Plaintiff, WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY , BUT SOLELY AS TRUSTEE FOR VM TRUST SERIES 3, A DELAWARE
STATUTORY TRUST as the holder of said Note has elected to accelerate the balance due on said
Note, to declare said Note to be due in full and to foreclose the Mortgage securing said Note.

6. The Plaintiff has provided written notice by letter dated January 30, 2018,
attached as Exhibit A, and sent by certified mail in accordance with the Note and Mortgage to
the Defendant(s) of the default under the Note and Mortgage, but said Defendant(s) have

failed and neglected to cure the default. The Plaintiff has elected to accelerate the balance due

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on said Note, to declare said Note to be due in full and to foreclose the Mortgage securing said
Note.

7. The following liens or encumbrances claim to have an interest in the Property
which liens or encumbrances are prior in right to the Mortgage herein:

a. The Town/City of New Canaan may claim an interest in the Property
by virtue of inchoate liens for real estate taxes.

8. The following liens or encumbrances claim to have an interest in the Property
which liens or encumbrances are subsequent in right to the Mortgage herein:

a. The Defendant, WELLS FARGO BANK, NATIONAL ASSOCIATION F/K/A
FIRST UNION NATIONAL BANK, claims an interest in the Property by
virtue of a Mortgage in the amount of $151,500.00 dated April 18, 2000
and recorded on May 22, 2000 in Volume 533 at Page 579 of the New
Canaan Land Records.

b. The Defendant, PORSCHE LEASING LTD., D/B/A BENTLEY FINANCIAL
SERVICES, claims an interest in the Property by virtue of an Attachment
in the amount of $60,162.67 dated June 28, 2017 and recorded on June
28, 2017 in Volume 975 at Page 163 of the New Canaan Land Records.

Cc. The Defendant, BANK OF AMERICA, NA F/K/A FLEET NATIONAL BANK,
claims an interest in the Property by virtue of a Judgment Lien in the
amount of $145,287.79 plus court awarded fees and costs dated January
21, 2005 and recorded on February 9, 2005 in Volume 708 at Page 698
of the New Canaan Land Records. This Judgment Lien relates back to
an Attachment in the amount of $160,000.00 dated July 16, 2004 and
recorded on July 16, 2004 in Volume 693 at Page 241 of the New
Canaan Land Records.

O’CONNELL, ATTMORE,& MORRIS, LLC
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d. The Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC, claims an
interest in the Property by virtue of a Judgment Lien in the amount of
$11,567.05 plus court awarded fees and costs dated March 28, 2006
and recorded on April 12, 2006 in Volume 740 at Page 1142 of the
New Canaan Land Records.

e. The Defendant, STATE OF CONNECTICUT DEPARTMENT OF REVENUE
SERVICES, may claim an interest in the Property by virtue of a Inchoate
Lien for Succession Taxes pursuant to C.G.S. § 13-366 possibly due
from the Estate of Wesley R Seibert who died an owner of the property.

9. The Defendant(s) SUNEETA P KRISHNA A/K/A SUNEETA PRASAD, A/K/A
SUNEETA PRASAD KRISHNA, A/K/A SUNEETA KRISHNA and JAYARDMAN KRISHNA A/K/A
JAYARAMAN KRISHNA, A/K/A KRIS JAYARARNAN, is/are the owners of the equity of
redemption of the Property and, on information and belief, are in possession of the
Property.

10. The Plaintiff, WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR VM TRUST SERIES 3, A DELAWARE
STATUTORY TRUST, caused a Lis Pendens to be recorded on the Land Records of the

Town of New Canaan.

O’CONNELL, ATTMORE,& MORRIS, LLC
280 TRUMBULL STREET, HARTFORD, CT 06103-3598
PHONE NO. (860) 548-1300; FAX NO. (860) 548-0023
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WHEREFORE, the Plaintiff claims:

1 Foreclosure of the Mortgage;

2. Foreclosure of Mortgage pursuant to Conn. Gen. Stat. Sec 49-17;

3. Possession of the Property;

4 A reasonable attorney's fee (unless same has been precluded by virtue of a
Bankruptcy filing);

5. Interest (unless same has been precluded by virtue of a Bankruptcy filing);

6. Costs of suit (unless same has been precluded by virtue of a Bankruptcy filing);

7. Deficiency Judgment against the makers of, or obligors on, the Note described
herein, and/or their Estate, if deceased (unless same has been precluded by
virtue of a Bankruptcy filing); and

8. Such other and further relief as the Court may deem just and equitable

Notice is hereby given to the Defendant(s) that the Plaintiff intends to seek satisfaction
of any judgment rendered in its favor in this action out of any debt accruing to said
Defendant(s) by reason of their personal services, (unless same has been precluded by virtue
of a Bankruptcy filing).

Dated at Hartford, Connecticut on August 9, 2019.

PLAINTIFF,
BY: / nat ZL ————
ANiA RUSLASO.

O’ CONNELL ATTMORE & Morris, LLC
ITs ATTORNEYS

280 TRUMBULL STREET, 23RD FLOOR
HARTFORD, CT 06103

Tel: (860) 548-1300

Fax: (860) 548-002

O’CONNELL, ATTMORE,& MORRIS, LLC
280 TRUMBULL STREET, HARTFORD, CT 06103-3598
PHONE NO. (860) 548-1300; FAX NO. (860) 548-0023
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VM TRUST SERIES 3, A DELAWARE STATUTORY TRUST
VS. : AT STAMFORD
SUNEETA P KRISHNA AKA, ET AL. : AUGUST 9, 2019

INFORMATION RELATING TO "VALIDATION NOTICE"

This Writ, Summons and Complaint are legal documents used to commence a lawsuit
with regards to the debt referenced within them. You must follow the instructions provided
therein should you wish to preserve your interests in the suit, even if you dispute the validity
or the amount of the debt. As lawyers, this office may file papers in the suit according to the
Statutes, Rules of Court and Standing Orders in Connecticut. The "Validation Notice" which
has been or will be sent to the borrower(s)("consumers") in no way alters their rights or
obligations with respect to this lawsuit. If you are the borrower ("consumer"), and if you
notify us that the debt or any portion thereof is disputed, or if you request proof of the debt
or the name and address of the original creditor within the thirty (30) day time period of the
validation notice, we will stop our collection efforts including this foreclosure suit until we
mail the requested information to you.

O’CONNELL, ATTMORE,& MORRIS, LLC
280 TRUMBULL STREET, HARTFORD, CT 06103-3598
PHONE NO. (860) 548-1300; FAX NO. (860) 548-0023
JURIS NO. 104083

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DOCKET No.: FST-Cv18-6036479 ; SUPERIOR COURT
WILMINGTON TRUST, NATIONAL ASSOCIATION NOT IN : JUDICIAL DISTRICT OF ITS
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VM TRUST SERIES 3, A DELAWARE STATUTORY TRUST
VS. : AT STAMFORD
SUNEETA P KRISHNA AKA, ET AL. : AUGUST 9, 2019

STATEMENT OF AMOUNT IN DEMAND

The amount, legal interest, or property in demand is not less than $15,000.00,

PLAINTIFF, LO
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By: fo ea

ANJA RuslI, ESQ.

O’ CONNELL ATTMORE & Morris, LLC
ITs ATTORNEYS

280 TRUMBULL STREET, 23°” FLOOR
HARTFORD, CT 06103

Tel: (860) 548-1300

Fax: (860) 548-0023

exclusive of interest and costs.

O’CONNELL, ATTMORE,& MORRIS, LLC
280 TRUMBULL STREET, HARTFORD, CT 06103-3598
PHONE NO. (860) 548-1300; FAX NO. (860) 548-0023
JURIS NO, 104083

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SCHEDULE A

All that certain piece, parcel or tract of land, with the buildings and other improvements thereon,
situated in the Town of New Canaan, County of Fairfield and State of Connecticut, known and

NORTHERLY: 576.17 feet by land now or formerly of Eldon Wallingford,
#s shown on said map, being the state boundary line
with the state of New York:

EASTERLY: 102.6] feet by land now or formerly of Tuljan R. Sloan, as
shown on said map;

SOUTHERLY: 178.73 feet, and

SOUTHEASTERLY: 236.01 feet, and again

EASTERLY: 58.35 feet all by land now or formerly of John J. and

Kathleen J, Cooney also known as “Parcel #14", as
showa on said map;

SOUTHWESTERLY: 422.69 feet by Pinney Road, also known as Connecticut
Route #124, as shown on said map;

WESTERLY: 25.39 feet by land now or formerly of Eldon Waltineford,
as shown on said map.

Together with the benefits and rights set forth in a cengin Boundary Line Agreement and

Easement from John S. Warden and Joan K. Gallagher- Warden to Robert Curry and Helen Post

Curry, dated February 14, 1990 and recorded in Liber 9836 at Page 330 of the Westchester

County Land Records, and recorded in Book 368 at Pagé 230 of tha New Canaan Land Records,

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EXHIBIT A

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P.O. BOX 51850
RETURN SERVICE REQUESTED USPS CERTIFIED MAIL™

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P7WM9000201002 - 537799275 105304

SUNEETA P KRISHNA

1769 OENOKE RIDGE RD

NEW CANAAN CT 06840-2643

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LIVONIA MI 48151-5850 Shretiponat
RETURN SERVICE REQUESTED

weer ~ Mortgage Servicing
hee Phone Number: 866-825-2174
Fax: 866-467-1187
Email: Lossmitigation@shellpointmtg.com
Mon - Thurs: 8:00AM-6:00PM
Fri: 8:00AM-5:00PM
ALA g feet fe gf te ee eee
S-SFRECS20 L-1100-CT-C R-106
P7WM9000201002 - 537799275 105305
SUNEETA P KRISHNA
1769 OENOKE RIDGE RD
NEW CANAAN CT 06840-2643
01/30/2018

NOTICE OF DEFAULT AND INTENT TO ACCELERATE

RE: Deed of Trust/Mortgage Dated: 04/17/2000
Loan #:
Property: 1769 Oenoke Ridge Rd
New Canaan, CT 06840

Dear Mortgagor:

Shellpoint Mortgage Servicing (“Shellpoint”), acting as servicer on behalf of Wilmington Trust, National Association, not in its
individual capacity, but solely as trustee for VM Trust Series 3, a Delaware statutory trust, the owner and holder of the above
referenced loan (the ““Loan”), and in accordance with the above referenced Deed of Trust/Mortgage (“Security Instrument’) the
related promissory note (the “Note”), and applicable state laws, provides you with formal notice of the following:

The loan associated with the referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.
To cure this default, you must pay all amounts due under the terms of the Note and Security Instrument.

As of 01/30/2018, the total amount necessary to bring the Loan current is $21,540.62 (the “Amount Due”). For the exact amount
you must pay to bring the Loan current after 01/30/2018, please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your loan balance to vary from day to day.

Payment to bring your loan current should be sent to
Shellpoint Mortgage Servicing
P.O. Box 740039
Cincinnati, OH 45274-0039

You are further informed that despite any departure from the terms of your loan that may have occurred, from this point forward
strict compliance with the exact terms of the loan will be required.

If you have not cured the default within thirty days (30) days of this notice, Shellpoint intends to accelerate the sums evidenced by
the Note and Security instruments and declare same due and payable in full and to take other legally and contractually permitted
action to collect the same, including foreclosure of the lien on the Property and sale of the Property. If such date falls on a Saturday,
Sunday or legal holiday then the Due Date shall be the next business day. Any partial payment received by our office on the Loan
after the date of this letter may not be applied to the reduction of the Amount Due and may be returned however any such acceptance
does not waive the right to proceed with foreclosure and a new demand letter may not be sent

You have the right to reinstate the Loan and the right to bring an action to have the foreclosure action dismissed, claim that your
loan is not in default or any other defense to acceleration and sale that you may have including the right in any lawsuit for
Foreclosure and Sale to argue that you kept your promises and agreements under the Note and Security Instrument and to present
any other defenses that you may have. This notice remains in effect until the default is cured.

SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.

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Securit{GASRreanOAQOS plies te lawsll@@ QO bhenloevaile mated Qadadeadidd, 2% Ady ndtagersdlwiathrd

foreclosure, including attorney’s fees as provided for in the Note and Security Instrument.

We are hereby giving you notice that we may make or cause to be made reasonable entries upon and inspections of the Property. We
will attempt to contact you before we make such entry. However, if the Property is determined to be vacant or abandoned, we will
take steps necessary to protect it against vandalism or other types of damages, such as exposure to the elements.

Shellpoint offers homeownership counseling services to borrowers in some areas. Counseling is also available through a variety of
nonprofit organizations experienced in homeownership counseling and approved by the Secretary of Housing and Urban
Development (HUD). A listing of such organizations may be obtained by calling HUD toll-free at (800) 569-4287 or at
www.hud.gov.

This matter is very important. Please give it your immediate attention.

Be advised that you have the option to discuss whether the property may be marketed for sale prior to foreclosure, by mutual consent
of yourself and our office by contacting us at 866-825-2174. You must contact our office within 60 days from date of notice. For
more information, you should contact a licensed real estate agent to discuss the feasibility of listing the property for sale pursuant to
the foreclosure by market sale process. If you and the creditor agree to the process, an appraisal will be required as well as an interior
and exterior inspection. Remember, the terms and conditions of the listing agreement and offer to purchase must be acceptable to
both you and your lender. You must sign an agreement to sell the property if an acceptable offer is received.

The purpose of this letter is to provide you with notice under Section 49-24(3) of the Connecticut General Statutes, as amended, that
you have the option to contact Shellpoint to discuss whether the property may, by mutual consent with the Shellpoint, be marketed
for sale pursuant to a listing agreement in accordance with C.G.S. Section 49-24(5). Please be advised that:

(1) Shellpoint can be reached at P.O. Box 10826 Greenville, SC 29603-0826, 866-825-2174, by fax 866-467-1187, or by contacting
Lossmitigation@shellpointmtg.com.

(2) To qualify for the benefits under this statute, on or before 60 days from the date of this letter, you must initiate contact with the
Shellpoint with contemporaneous confirmation in writing of your election to pursue, which writing may be mailed or emailed;

(3) You should contact a real estate agent licensed under Chapter 392 of the Connecticut General Statutes to discuss the feasibility
of listing the property for sale pursuant to the foreclosure by market sale process;

(4) Ifyou and Shellpoint agree to proceed with further discussions concerning an acceptable listing agreement, you must first
permit an appraisal to be obtained in accordance with C.G.S. Section 49-24(4) for purposes of verifying eligibility for
foreclosure by market sale;

(5) The appraisal will require both an interior and exterior inspection of the property;

(6) The terms and conditions of the listing agreement, including the duration and listing price, must be acceptable to both you and
Shellpoint;

(7) The terms and condition of any offer to purchase, including the purchase price and any contingencies, must be acceptable to
both you and Shellpoint;

(8) Ifan acceptable offer is received, you will sign an agreement to sell the property through a foreclosure by market sale.
IF YOU CONSENT TO FORECLOSURE BY MARKET SALE, YOU WILL NOT BE ELIGIBLE FOR FORECLOSURE

MEDIATION IN ANY TYPE OF FORECLOSURE ACTION THAT IS COMMENCED FOLLOWING THE GIVING OF
SUCH CONSENT.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan espafiol al numero
866-825-2174.

Sincerely,

Shellpoint Mortgage Servicing
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FORECLOSURE MEDIATION STATE OF CONNECTICUT

NOTICE OF COMMUNITY-BASED ADA NOTICE SUPERIOR COURT
RESOURCES - JUDICIAL BRANCH
JD-CV-126 Rev. 7-16 The Judicial Branch of the State of Connecticut www jud.ct.gov

C.GS. § 49-31/ complies with the Americans with Disabilities Act
(ADA). If you need a reasonable accommodation in

accordance with the ADA, contact a court clerk or an

ADA contact person listed at www.jud.ct.gow/ADA.

State of Connecticut Department of Banking
Foreclosure Hotline Bulletin
Community-Based Resources for Connecticut Homeowners in Foreclosure

Note: Assistance in multiple languages is available through Connecticut Housing Finance Authority (CHFA/HUD)-approved housing
counseling agencies (refer to the list below). Ayuda en Espafiol es disponible a través de agencias de consejeria de vivienda
aprobado por CHFA/HUD (favor de referirse a la lista de abajo).

Toll-free Mortgage Foreclosure Assistance Hotline: 1-877-472-8313
Department of Banking Website: www.ct.gov/dob

The free Foreclosure Hotline is open Monday-Friday 8:00 a.m. to 5:00 p.m. Calls will be returned within two business days.
Homeowners who are currently a party to a foreclosure action with time sensitive foreclosure concerns should call the Hotline for
assistance. You can also reach the Department of Banking by calling 1-800-831-7225 (toll-free) or 860-240-8299.

Mortgage Assistance Programs from the Connecticut Housing
Finance Authority (CHFA)

The Connecticut Housing Finance Authority administers the state's Emergency Mortgage Assistance Program (EMAP) which
was created by the Connecticut General Assembly. EMAP can help eligible homeowners with overdue payments and provide
monthly mortgage assistance. For more information, contact a CHFA/HUD-approved housing counseling agency (listed below), call
CHFA at 1-877-571-2432, or visit www.chfa.org.

CHFA/HUD-Approved Housing Counselors: CHFA/HUD-approved housing counselors provide free services to
Connecticut homeowners who are struggling financially and may be at risk of foreclosure. They can review your budget
and try to find ways to help with your financial issues. They are trained in handling FHA and “conventional” loans and
can help you negotiate with your mortgage company or apply to CHFA for an Emergency Mortgage Assistance loan.If a
foreclosure case has been filed against you and you have asked to participate in the Foreclosure Mediation Program,
they can help you get ready for mediation (including the Premediation meetings with your mediator) and help you
submit financial documents to your mortgage company as part of the mediationprocess. CHFA/HUD approved housing
counselors welcome residents from all over Conneticut. You do not need to go to the agency closest to you.

County CHFA/HUD-Approved Housing Counseling Agency Phone

Fairfield | Bridgeport Neighborhood Trust, 570 State Street, Bridgeport www.bntweb.org | 203-290-4255

|Community Renewal Team, 395 Wethersfield Ave., Hartford www.crtct.org _| 860-560-5880 —

Hartford | Neighborhood Housing Services of New Britain, 223 Broad St., New Britain
www.nhsnb.org 860-224-2433

Neighborhood Housing Services of New Haven, 333 Sherman Ave., New Haven
www.nhsofnewhaven.org 203-777-6925

New Haven Capital for Change, Inc., 171 Orange St., New Haven www.gnhcif.org 203-624-7406

Neighborhood Housing Services of Waterbury, 161 North Main
StreetWaterbury www.nhsofwaterbury.org (serves Waterbury, Naugatuck, 203-753-1896
Torrington, and all of Northwest CT)

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Legal Resources

Foreclosure Prevention Legal Clinics: The Connecticut Fair Housing Center and the Department of Banking present free clinics
for homeowners in foreclosure. The clinics offer information on the process and on preparing for court from a Center attorney,
guidance on resources for homeowners from the Department of Banking. After the presentations, homeowners can talk about their
situations one-on-one with volunteer attorneys, paralegals. When scheduled in Hartford County, the clinic is held on the 3rd
Tuesday evening of the month, and is run by the Connecticut Fair Housing Center and the University of Hartford Paralegal
Studies Program. When scheduled in Fairfield County, the clinic is held on the 3rd Wednesday evening of the month, and is
run by the Connecticut Fair Housing Center and Homes Saved By Faith. The Fairfield County clinics are sponsored by the mayors
of Bridgeport, Stamford, and Norwalk. Call 1-888-247-4401 or visit www.ctfairhousing.org for more information.

Judicial Branch Foreclosure Volunteer Attorney Program: Volunteer attorneys are available to give advice and answer
questions about foreclosure at certain courthouses in the state. Homeowners facing foreclosure throughout Connecticut are
welcome to attend. Call 860-263-2734 for additional information or visit http://www.jud.ct.gov/volunteer_atty_prgm.htm.

Foreclosure Manual for Self-Represented Homeowners: The Connecticut Fair Housing Center publishes “Representing Yourself
in Foreclosure: A Guide for Connecticut Homeowners,” a free manual describing the foreclosure and mediation process for
self-represented homeowners. Copies are available at many locations, such as CHFA/HUD-approved housing counselors,
www.ctfairhousing.org, and by calling the Center at 1-888-247-4401.

Statewide Legal Services (SLS): SLS provides free legal advice and referrals for callers qualifying for its services (guidelines
include income limits). Call 1-800-453-3320 or 860-344-0380 or visit www.slsct.org for more information.

Court Service Centers: In certain Superior Court locations, Court Service Centers provide public access computers, printers, fax
machines, copiers, phones, and work space for self-represented parties. Refer to www.jud.ct.gov, and go to the Quick Links
menu on the home page of the Judicial website for more information.

Lawyer Referral Services: County Bar Associations in Connecticut offer referral services that introduce homeowners to lawyers
who can answer questions during an initial half-hour consultation. You can send an email with your questions and availability.
Services beyond the 1st half-hour fee will be at the attorney's usual fee.

County Phone oa Website Email
Fairfield 203-335-4116 $35 a www. fairfieldlawyerreferral.com | fcha@conversent.net |
Hartford* 860-525-6052 $25 | www.hartfordbar.org | hcba@hartfordbar.org
New Haven 203-562-5750 | $35 | www.newhavenbar.org NHCBAinfo@newhavenbar.org
New London 860-889-9384 | $25 www.nicba.org - See website for contact form

*The Hartford County Bar also covers Litchfield, Middlesex, Tolland, and Windham Counties.

How Foreclosure Rescue Scams Work. People in foreclosure are often the target of “foreclosure rescue scams.” Be very
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JD-CV-126 Rev. 7-16
Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 16 of 57
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Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important
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after the servicemember’s military or other service. Counseling for covered servicemembers is available from Military OneSource
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responsabilidad civil contra ninguno de los destinatarios de la presente notificacién, que pudiese haber recibido un descargo de este tipo
de deuda de conformidad con la legislacién vigente sobre bancarrota o que pudiera ser objcto de suspensién automatica en virtud de
Seccién 362 del Cédigo de Bancarrota de los Estados Unidos. No obstante, puede ser una notificacion de una posible aplicacién de
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www.militaryonesource.mil/.

Aviso de Error 0 la Direccién de Peticién de Informacién Usted tiene ciertos derechos en virtud de la ley federal relacionados con la
resolucién de errores en el servicio de su préstamo y la solicitud de informacion sobre su préstamo. Si desea solicitar informacién sobre
su préstamo o si usted cree que un error ha ocurrido en el servicio de su préstamo y desea presentar una resolucién de errores 0 solicitud
de informacién, por favor escribanos a la siguiente direccién: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

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LIVONIA MI 48151-5850
RETURN SERVICE REQUESTED . =,
wuyy: - Mortgage Servicing
hee Phone Number: 866-825-2174 He
Fax: 866-467-1187 :

Email: Lossmitigation@shellpointmtg.com
Mon - Thurs: 8:00AM-6:00PM
Fri: 8:00AM-5:00PM

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SUNEETA P KRISHNA

1769 OENOKE RICH

NEW CANAAN CT 06840

01/30/2018
NOTICE OF DEFAULT AND INTENT TO ACCELERATE

RE: Deed of Trust/Mortgage Dated: 04/17/2000
Loan #: |
Property: 1769 Oenoke Ridge Rd
New Canaan, CT 06840

Dear Mortgagor:

Shellpoint Mortgage Servicing (‘‘Shellpoint”), acting as servicer on behalf of Wilmington Trust, National Association, not in its
individual capacity, but solely as trustee for VM Trust Series 3, a Delaware statutory trust, the owner and holder of the above
referenced loan (the “Loan”), and in accordance with the above referenced Deed of Trust/Mortgage (‘‘Security Instrument”) the
related promissory note (the “Note”), and applicable state laws, provides you with formal notice of the following:

The loan associated with the referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.
To cure this default, you must pay all amounts due under the terms of the Note and Security Instrument.

As of 01/30/2018, the total amount necessary to bring the Loan current is $21,540.62 (the “Amount Due”). For the exact amount
you must pay to bring the Loan current after 01/30/2018, please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your loan balance to vary from day to day.

Payment to bring your loan current should be sent to
Shellpoint Mortgage Servicing
P.O. Box 740039
Cincinnati, OH 45274-0039

You are further informed that despite any departure from the terms of your loan that may have occurred, from this point forward
strict compliance with the exact terms of the loan will be required.

If you have not cured the default within thirty days (30) days of this notice, Shellpoint intends to accelerate the sums evidenced by
the Note and Security instruments and declare same due and payable in full and to take other legally and contractually permitted
action to collect the same, including foreclosure of the lien on the Property and sale of the Property. If such date falls on a Saturday,
Sunday or legal holiday then the Due Date shall be the next business day. Any partial payment received by our office on the Loan
after the date of this letter may not be applied to the reduction of the Amount Due and may be returned however any such acceptance
does not waive the right to proceed with foreclosure and a new demand letter may not be sent

You have the right to reinstate the Loan and the right to bring an action to have the foreclosure action dismissed, claim that your
loan is not in default or any other defense to acceleration and sale that you may have including the right in any lawsuit for
Foreclosure and Sale to argue that you kept your promises and agreements under the Note and Security Instrument and to present
any other defenses that you may have. This notice remains in effect until the default is cured.

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foreclosure, including attorney’s fees as provided for in the Note and Security Instrument.

We are hereby giving you notice that we may make or cause to be made reasonable entries upon and inspections of the Property. We
will attempt to contact you before we make such entry. However, if the Property is determined to be vacant or abandoned, we will
take steps necessary to protect it against vandalism or other types of damages, such as exposure to the elements.

Shellpoint offers homeownership counseling services to borrowers in some areas. Counseling is also available through a variety of
nonprofit organizations experienced in homeownership counseling and approved by the Secretary of Housing and Urban
Development (HUD). A listing of such organizations may be obtained by calling HUD toll-free at (800) 569-4287 or at
www.hud.gov.

This matter is very important. Please give it your immediate attention.

Be advised that you have the option to discuss whether the property may be marketed for sale prior to foreclosure, by mutual consent
of yourself and our office by contacting us at 866-825-2174. You must contact our office within 60 days from date of notice. For
more information, you should contact a licensed real estate agent to discuss the feasibility of listing the property for sale pursuant to
the foreclosure by market sale process. If you and the creditor agree to the process, an appraisal will be required as well as an interior
and exterior inspection. Remember, the terms and conditions of the listing agreement and offer to purchase must be acceptable to
both you and your lender. You must sign an agreement to sell the property if an acceptable offer is received.

The purpose of this letter is to provide you with notice under Section 49-24(3) of the Connecticut General Statutes, as amended, that
you have the option to contact Shellpoint to discuss whether the property may, by mutual consent with the Shellpoint, be marketed
for sale pursuant to a listing agreement in accordance with C.G.S. Section 49-24(5). Please be advised that:

(1) Shellpoint can be reached at P.O. Box 10826 Greenville, SC 29603-0826, 866-825-2174, by fax 866-467-1187, or by contacting
Lossmitigation@shellpointmtg.com.

(2) To qualify for the benefits under this statute, on or before 60 days from the date of this letter, you must initiate contact with the
Shellpoint with contemporaneous confirmation in writing of your election to pursue, which writing may be mailed or emailed;

(3) You should contact a real estate agent licensed under Chapter 392 of the Connecticut General Statutes to discuss the feasibility
of listing the property for sale pursuant to the foreclosure by market sale process;

(4) Ifyou and Shellpoint agree to proceed with further discussions concerning an acceptable listing agreement, you must first
permit an appraisal to be obtained in accordance with C.G.S. Section 49-24(4) for purposes of verifying eligibility for
foreclosure by market sale;

(5) The appraisal will require both an interior and exterior inspection of the property;

(6) The terms and conditions of the listing agreement, including the duration and listing price, must be acceptable to both you and
Shellpoint;

(7) The terms and condition of any offer to purchase, including the purchase price and any contingencies, must be acceptable to
both you and Shellpoint;

(8) Ifan acceptable offer is received, you will sign an agreement to sell the property through a foreclosure by market sale.
IF YOU CONSENT TO FORECLOSURE BY MARKET SALE, YOU WILL NOT BE ELIGIBLE FOR FORECLOSURE

MEDIATION IN ANY TYPE OF FORECLOSURE ACTION THAT IS COMMENCED FOLLOWING THE GIVING OF
SUCH CONSENT.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan espafiol al numero
866-825-2174.

Sincerely,

Shellpoint Mortgage Servicing
Case 23-05009 Doc1-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 210f57 _

FORECLOSURE MEDIATION STATE OF CONNECTICUT
NOTICE OF COMMUNITY-BASED ADANOTICE SUPERIOR COURT
RESOURCES af JUDICIAL BRANCH
JD-CV-126 Rev. 7-16 The Judicial Branch of the State of Connecticut www,jud.ct.gov

complies with the Americans with Disabilities Act
(ADA). If you need a reasonable accommodation in
accordance with the ADA, contact a court clerk or an
ADA contact person listed at www.jud.ct.gov/ADA.

C.G.S. § 49-31/

State of Connecticut Department of Banking
Foreclosure Hotline Bulletin
Community-Based Resources for Connecticut Homeowners in Foreclosure

Note: Assistance in multiple languages is available through Connecticut Housing Finance Authority (CHFA/HUD)-approved housing
counseling agencies (refer to the list below). Ayuda en Espafiol es disponible a través de agencias de consejeria de vivienda
aprobado por CHFA/HUD (favor de referirse a la lista de abajo).

Toll-free Mortgage Foreclosure Assistance Hotline: 1-877-472-8313
Department of Banking Website: www.ct.gov/dob

The free Foreclosure Hotline is open Monday-Friday 8:00 a.m. to 5:00 p.m. Calls will be returned within two business days.
Homeowners who are currently a party to a foreclosure action with time sensitive foreclosure concerns should call the Hotline for
assistance. You can also reach the Department of Banking by calling 1-800-831-7225 (toll-free) or 860-240-8299.

Mortgage Assistance Programs from the Connecticut Housing
Finance Authority (CHFA)

The Connecticut Housing Finance Authority administers the state's Emergency Mortgage Assistance Program (EMAP) which
was created by the Connecticut General Assembly. EMAP can help eligible homeowners with overdue payments and provide
monthly mortgage assistance. For more information, contact a CHFA/HUD-approved housing counseling agency (listed below), call
CHFA at 1-877-571-2432, or visit www.chfa.org.

CHFA/HUD-Approved Housing Counselors: CHFA/HUD-approved housing counselors provide free services to
Connecticut homeowners who are struggling financially and may be at risk of foreclosure. They can review your budget
and try to find ways to help with your financial issues. They are trained in handling FHA and “conventional” loans and
can help you negotiate with your mortgage company or apply to CHFA for an Emergency Mortgage Assistance loan.If a
foreclosure case has been filed against you and you have asked to participate in the Foreclosure Mediation Program,
they can help you get ready for mediation (including the Premediation meetings with your mediator) and help you
submit financial documents to your mortgage company as part of the mediationprocess. CHFA/HUD approved housing
counselors welcome residents from all over Conneticut. You do not need to go to the agency closest to you.

County CHFA/HUD-Approved Housing Counseling Agency Phone

Fairfield | Bridgeport Neighborhood Trust, 570 State Street, Bridgeport www.bntweb.org =| 203-290-4255

- | Community Renewal Team, 395 Wethersfield Ave., Hartford www.crtct.org 860-560-5880

Hartford | Neighborhood Housing Services of New Britain, 223 Broad St., New Britain
www.nhsnb.org 860-224-2433

| Neighborhood Housing Services of New Haven, 333 Sherman Ave., New Haven
www.nhsofnewhaven.org

203-777-6925

New Haven Capital for Change, Inc., 171 Orange St., New Haven www.gnhcif.org 203-624-7406

| Neighborhood Housing Services of Waterbury, 161 North Main
StreetWaterbury www.nhsofwaterbury.org (serves Waterbury, Naugatuck, 203-753-1896
Torrington, and all of Northwest CT)

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Legal Resources

Foreclosure Prevention Legal Clinics: The Connecticut Fair Housing Center and the Department of Banking present free clinics
for homeowners in foreclosure. The clinics offer information on the process and on preparing for court from a Center attorney,
guidance on resources for homeowners from the Department of Banking. After the presentations, homeowners can talk about their
situations one-on-one with volunteer attorneys, paralegals. When scheduled in Hartford County, the clinic is held on the 3rd
Tuesday evening of the month, and is run by the Connecticut Fair Housing Center and the University of Hartford Paralegal
Studies Program. When scheduled in Fairfield County, the clinic is held on the 3rd Wednesday evening of the month, and is
run by the Connecticut Fair Housing Center and Homes Saved By Faith. The Fairfield County clinics are sponsored by the mayors
of Bridgeport, Stamford, and Norwalk. Call 1-888-247-4401 or visit www.ctfairhousing.org for more information.

Judicial Branch Foreclosure Volunteer Attorney Program: Volunteer attorneys are available to give advice and answer
questions about foreclosure at certain courthouses in the state. Homeowners facing foreclosure throughout Connecticut are
welcome to attend. Call 860-263-2734 for additional information or visit http://www.jud.ct.gov/volunteer_atty_prgm.htm.

Foreclosure Manual for Self-Represented Homeowners: The Connecticut Fair Housing Center publishes “Representing Yourself
in Foreclosure: A Guide for Connecticut Homeowners,” a free manual describing the foreclosure and mediation process for
self-represented homeowners. Copies are available at many locations, such as CHFA/HUD-approved housing counselors,
www.ctfairhousing.org, and by calling the Center at 1-888-247-4401.

Statewide Legal Services (SLS): SLS provides free legal advice and referrals for callers qualifying for its services (guidelines
include income limits). Calt 1-800-453-3320 or 860-344-0380 or visit www.slsct.org for more information.

Court Service Centers: In certain Superior Court locations, Court Service Centers provide public access computers, printers, fax
machines, copiers, phones, and work space for self-represented parties. Refer to www.jud.ct.gov, and go to the Quick Links
menu on the home page of the Judicial website for more information.

Lawyer Referral Services: County Bar Associations in Connecticut offer referral services that introduce homeowners to lawyers
who can answer questions during an initial half-hour consultation. You can send an email with your questions and availability.
Services beyond the 1st half-hour fee will be at the attorney's usual fee.

County Phone Se a | Website Email
Fairfield | 203-335-4116 $35 | | www. fairfieldlawyerreferral.com fcba@conversent.net
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Seccién 362 del Cédigo de Bancarrota de los Estados Unidos. No obstante, puede ser una notificacion de una posible aplicacién de
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www.militaryonesource.mil/.

Aviso de Error o la Direccién de Peticién de Informacién Usted tiene ciertos derechos en virtud de la ley federal relacionados con la
resolucion de errores en el servicio de su préstamo y la solicitud de informacion sobre su préstamo. Si desea solicitar informacion sobre
su préstamo 0 si usted cree que un error ha ocurrido en el servicio de su préstamo y desea presentar una resolucion de errores o solicitud
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1769 OENOKE RIDGE RD

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RETURN SERVICE REQUESTED _
wee Mortgage Servicing
Me Phone Number: 866-825-2174 Ree
Fax: 866-467-1187
Email: Lossmitigation@shellpointmtg.com
Mon - Thurs: 8:00AM-6:00PM
Fri: 8:00AM-5:00PM

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JAYARDMAN KRISHNA

1769 OENOKE RIDGE RD

NEW CANAAN CT 06840-2643

01/30/2018
NOTICE OF DEFAULT AND INTENT TO ACCELERATE

RE: Deed of Trust/Mortgage Dated: 04/17/2000
Loan #:
Property: 1769 Oenoke Ridge Rd
New Canaan, CT 06840

Dear Mortgagor:

Shellpoint Mortgage Servicing (“Shellpoint”), acting as servicer on behalf of Wilmington Trust, National Association, not in its
individual capacity, but solely as trustee for VM Trust Series 3, a Delaware statutory trust, the owner and holder of the above
referenced loan (the “Loan”’), and in accordance with the above referenced Deed of Trust/Mortgage (“Security Instrument’) the
related promissory note (the “Note’’), and applicable state laws, provides you with formal notice of the following:

The loan associated with the referenced Deed of Trust/Mortgage is in default for failure to pay amounts due.
To cure this default, you must pay all amounts due under the terms of the Note and Security Instrument.

As of 01/30/2018, the total amount necessary to bring the Loan current is $21,540.62 (the “Amount Due”). For the exact amount
you must pay to bring the Loan current after 01/30/2018, please contact our office at 866-825-2174 as interest, payments, credits,
fees and/or other permissible charges can continue to cause your loan balance to vary from day to day.

Payment to bring your loan current should be sent to
Shellpoint Mortgage Servicing
P.O. Box 740039
Cincinnati, OH 45274-0039

You are further informed that despite any departure from the terms of your loan that may have occurred, from this point forward
strict compliance with the exact terms of the loan will be required.

If you have not cured the default within thirty days (30) days of this notice, Shellpoint intends to accelerate the sums evidenced by
the Note and Security instruments and declare same due and payable in full and to take other legally and contractually permitted
action to collect the same, including foreclosure of the lien on the Property and sale of the Property. If such date falls on a Saturday,
Sunday or legal holiday then the Due Date shall be the next business day. Any partial payment received by our office on the Loan
after the date of this letter may not be applied to the reduction of the Amount Due and may be returned however any such acceptance
does not waive the right to proceed with foreclosure and a new demand letter may not be sent

You have the right to reinstate the Loan and the right to bring an action to have the foreclosure action dismissed, claim that your
loan is not in default or any other defense to acceleration and sale that you may have including the right in any lawsuit for
Foreclosure and Sale to argue that you kept your promises and agreements under the Note and Security Instrument and to present
any other defenses that you may have. This notice remains in effect until the default is cured.

SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.

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foreclosure, including attorney’s fees as provided for in the Note and Security Instrument.

We are hereby giving you notice that we may make or cause to be made reasonable entries upon and inspections of the Property. We
will attempt to contact you before we make such entry. However, if the Property is determined to be vacant or abandoned, we will
take steps necessary to protect it against vandalism or other types of damages, such as exposure to the elements.

Shellpoint offers homeownership counseling services to borrowers in some areas. Counseling is also available through a variety of
nonprofit organizations experienced in homeownership counseling and approved by the Secretary of Housing and Urban
Development (HUD). A listing of such organizations may be obtained by calling HUD toll-free at (800) 569-4287 or at
www.hud.gov.

This matter is very important. Please give it your immediate attention.

Be advised that you have the option to discuss whether the property may be marketed for sale prior to foreclosure, by mutual consent
of yourself and our office by contacting us at 866-825-2174. You must contact our office within 60 days from date of notice. For
more information, you should contact a licensed real estate agent to discuss the feasibility of listing the property for sale pursuant to
the foreclosure by market sale process. If you and the creditor agree to the process, an appraisal will be required as well as an interior
and exterior inspection. Remember, the terms and conditions of the listing agreement and offer to purchase must be acceptable to
both you and your lender. You must sign an agreement to sell the property if an acceptable offer is received.

The purpose of this letter is to provide you with notice under Section 49-24(3) of the Connecticut General Statutes, as amended, that
you have the option to contact Shellpoint to discuss whether the property may, by mutual consent with the Shellpoint, be marketed
for sale pursuant to a listing agreement in accordance with C.G.S. Section 49-24(5). Please be advised that:

(1) Shellpoint can be reached at P.O. Box 10826 Greenville, SC 29603-0826, 866-825-2174, by fax 866-467-1187, or by contacting
Lossmitigation@shellpointmtg.com.

(2) To qualify for the benefits under this statute, on or before 60 days from the date of this letter, you must initiate contact with the
Shellpoint with contemporaneous confirmation in writing of your election to pursue, which writing may be mailed or emailed;

(3) You should contact a real estate agent licensed under Chapter 392 of the Connecticut General Statutes to discuss the feasibility
of listing the property for sale pursuant to the foreclosure by market sale process;

(4) If you and Shellpoint agree to proceed with further discussions concerning an acceptable listing agreement, you must first
permit an appraisal to be obtained in accordance with C.G.S. Section 49-24(4) for purposes of verifying eligibility for
foreclosure by market sale;

(5) The appraisal will require both an interior and exterior inspection of the property;

(6) The terms and conditions of the listing agreement, including the duration and listing price, must be acceptable to both you and
Shellpoint;

(7) The terms and condition of any offer to purchase, including the purchase price and any contingencies, must be acceptable to
both you and Shellpoint;

(8) Ifan acceptable offer is received, you will sign an agreement to sell the property through a foreclosure by market sale.
IF YOU CONSENT TO FORECLOSURE BY MARKET SALE, YOU WILL NOT BE ELIGIBLE FOR FORECLOSURE

MEDIATION IN ANY TYPE OF FORECLOSURE ACTION THAT IS COMMENCED FOLLOWING THE GIVING OF
SUCH CONSENT.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan espafiol al nimero
866-825-2174.

Sincerely,

Shellpoint Mortgage Servicing
Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 28 of 57

FORECLOSURE MEDIATION STATE OF CONNECTICUT
NOTICE OF COMMUNITY-BASED SeRnTICE SUPERIOR COURT

JUDICIAL BRANCH
ee The Judicial Branch of the State of Connecticut www jud.ct.gov

complies with the Americans with Disabilities Act
(ADA). If you need a reasonable accommodation in
accordance with the ADA, contact a court clerk or an
ADA contact person listed at www.jud.ct.gow/ADA.

C.G.S. § 49-31/

State of Connecticut Department of Banking
Foreclosure Hotline Bulletin
Community-Based Resources for Connecticut Homeowners in Foreclosure

Note: Assistance in multiple languages is available through Connecticut Housing Finance Authority (CHFA/HUD)-approved housing
counseling agencies (refer to the list below). Ayuda en Espafiol es disponible a través de agencias de consejeria de vivienda
aprobado por CHFA/HUD (favor de referirse a la lista de abajo).

Toll-free Mortgage Foreclosure Assistance Hotline: 1-877-472-8313
Department of Banking Website: www.ct.gov/dob

The free Foreclosure Hotline is open Monday-Friday 8:00 a.m. to 5:00 p.m. Calls will be returned within two business days.
Homeowners who are currently a party to a foreclosure action with time sensitive foreclosure concerns should call the Hotline for
assistance. You can also reach the Department of Banking by calling 1-800-831-7225 (toll-free) or 860-240-8299.

Mortgage Assistance Programs from the Connecticut Housing
Finance Authority (CHFA)

The Connecticut Housing Finance Authority administers the state's Emergency Mortgage Assistance Program (EMAP) which
was created by the Connecticut General Assembly. EMAP can help eligible homeowners with overdue payments and provide
monthly mortgage assistance. For more information, contact a CHFA/HUD-approved housing counseling agency (listed below), call
CHFA at 1-877-571-2432, or visit www.chfa.org.

CHFA/HUD-Approved Housing Counselors: CHFA/HUD-approved housing counselors provide free services to
Connecticut homeowners who are struggling financially and may be at risk of foreclosure. They can review your budget
and try to find ways to help with your financial issues. They are trained in handling FHA and “conventional” loans and
can help you negotiate with your mortgage company or apply to CHFA for an Emergency Mortgage Assistance loan.|f a
foreclosure case has been filed against you and you have asked to participate in the Foreclosure Mediation Program,
they can help you get ready for mediation (including the Premediation meetings with your mediator) and help you
submit financial documents to your mortgage company as part of the mediationprocess. CHFA/HUD approved housing
counselors welcome residents from all over Conneticut. You do not need to go to the agency closest to you.

County CHFA/HUD-Approved Housing Counseling Agency Phone

Fairfield | Bridgeport Neighborhood Trust, 570 State Street, Bridgeport www. bntweb.org 203-290-4255
~ | Community Renewal Team, 395 Wethersfield Ave., Hartford www.crtct.org _| 860-560-5880

Hartford | Neighborhood Housing Services of New Britain, 223 Broad St., New Britain
www.nhsnb.org 860-224-2433

203-777-6925

Neighborhood Housing Services of New Haven, 333 Sherman Ave., New Haven
www.nhsofnewhaven.org

New Haven Capital for Change, Inc., 171 Orange St., New Haven www.gnhclf.org 203-624-7406

Neighborhood Housing Services of Waterbury, 161 North Main
StreetWaterbury www.nhsofwaterbury.org (serves Waterbury, Naugatuck, 203-753-1896
Torrington, and all of Northwest CT)

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Legal Resources

Foreclosure Prevention Legal Clinics: The Connecticut Fair Housing Center and the Department of Banking present free clinics
for homeowners in foreclosure. The clinics offer information on the process and on preparing for court from a Center attorney,
guidance on resources for homeowners from the Department of Banking. After the presentations, homeowners can talk about their
situations one-on-one with volunteer attorneys, paralegals. When scheduled in Hartford County, the clinic is held on the 3rd
Tuesday evening of the month, and is run by the Connecticut Fair Housing Center and the University of Hartford Paralegal
Studies Program. When scheduled in Fairfield County, the clinic is held on the 3rd Wednesday evening of the month, and is
run by the Connecticut Fair Housing Center and Homes Saved By Faith. The Fairfield County clinics are sponsored by the mayors
of Bridgeport, Stamford, and Norwalk. Call 1-888-247-4401 or visit www.ctfairhousing.org for more information.

Judicial Branch Foreclosure Volunteer Attorney Program: Volunteer attorneys are available to give advice and answer
questions about foreclosure at certain courthouses in the state. Homeowners facing foreclosure throughout Connecticut are
welcome to attend. Call 860-263-2734 for additional information or visit http://www.jud.ct.gov/volunteer_atty_prgm.htm.

Foreclosure Manual for Self-Represented Homeowners: The Connecticut Fair Housing Center publishes “Representing Yourself
in Foreclosure: A Guide for Connecticut Homeowners,” a free manual describing the foreclosure and mediation process for
self-represented homeowners. Copies are available at many locations, such as CHFA/HUD-approved housing counselors,
www.ctfairhousing.org, and by calling the Center at 1-888-247-4401.

Statewide Legal Services (SLS): SLS provides free legal advice and referrals for callers qualifying for its services (guidelines
include income limits). Call 1-800-453-3320 or 860-344-0380 or visit www.sisct.org for more information.

Court Service Centers: In certain Superior Court locations, Court Service Centers provide public access computers, printers, fax
machines, copiers, phones, and work space for self-represented parties. Refer to www.jud.ct.gov, and go to the Quick Links
menu on the home page of the Judicial website for more information.

Lawyer Referral Services: County Bar Associations in Connecticut offer referral services that introduce homeowners to lawyers
who can answer questions during an initial half-hour consultation. You can send an email with your questions and availability.
Services beyond the 1st half-hour fee will be at the attorney's usual fee.

County Phone Fee re nour Website Email
Fairfield 203-335-4116 | $35 www. fairfieldlawyerreferral.com | fcba@conversent.net
Hartford” 860-525-6052 $25 www.hartfordbar.org hcba@hartfordbar.org |
New Haven 203-562-5750 $35 ‘\Www.newhavenbar.org IN HCBAinfo@newhavenbar.org
New London | 860-889-9384 $25 www.nicba.org See website for contact | form

*The Hartford County Bar also covers Litchfield, Middlesex, Tolland, and Windham Counties.

How Foreclosure Rescue Scams Work. People in foreclosure are often the target of “foreclosure rescue scams.” Be very
careful of non-lawyers who ask you to pay a fee for counseling, loan modification, foreclosure prevention, or a “forensic audit” of
your loan documents, regardless of their promises or claims. Many out-of-state attorneys target Connecticut residents: you
should never pay attorneys that you do not meet. Contact the Department of Banking for more information at 1-877-472-8313 or
visit www. preventloanscams.org.

Mortgage Crisis Job Training Program. The state-funded Mortgage Crisis Job Training Program is a project of The
WorkPlace, Inc., in partnership with the Connecticut Housing Finance Authority (CHFA), Capital Workforce Partners, and
Connecticut's workforce system. The Program helps homeowners increase their job skills and earning potential. It offers customized
employment services, job training scholarships, financial literacy, and credit counseling. For information call 1-866-683-1682 or go
to www.workplace.org/mortgage-crisis-job-training-program/.

Financial Assistance Programs. Connecticut's 12 Community Action Agencies (CAAs) help people meet immediate needs
through services such as Eviction and Foreclosure Prevention, energy/heating assistance, food pantries, and weatherization. CAAs
also empower people to improve their financial future through employment services, financial literacy training, and other programs.
To locate your local CAA call the Connecticut Association for Community Action at 860-832-9438 or visit:
www.cafca.org/our-network.

For more information on programs for homeowners facing financial distress, review the Department of Banking’s materials on
www.ct.gov/dob or call 1-877-472-8313. You can also call Info line at 2-1-1 for resources.

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If you have submitted a complete borrower response package and are currently in an active loss mitigation review, you will not be referred
to foreclosure. If your loss mitigation application is denied or you fail to meet the terms of the new loss mitigation agreement, then you
may be referred to foreclosure or continue with the foreclosure process. us

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Please read the following important notices as they may affect your rights.

This is an attempt to collect a debt and any information obtained will be used for that purpose. This communication is from a debt
collector.

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important
protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months
after the servicemember’s military or other service, Counseling for covered servicemembers is available from Military OneSource
(800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more information, please visit the
Military OneSource website www.militaryonesource.mil/,

Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

The following is a Spanish translation of the information provided above.
Lea por favor las siguientes avisos importantes que puedan afectar sus derechos.

Esto es un intento de cobrar una deuda y cualquier informacién obtenida se utilizara para ello. Esta comunicacion es de un cobrador de
deudas.

Si usted es un cliente en situacién de bancarrota o un cliente que ha recibido una descarga de bancarrota de la deuda: tenga en cuenta que
este aviso es para informarle de la situacién de su préstamo hipotecario. Este aviso no constituye una exigencia de pago ni un aviso de
responsabilidad civil contra ninguno de los destinatarios de la presente notificacién, que pudiese haber recibido un descargo de este tipo
de deuda de conformidad con la legislacién vigente sobre bancarrota o que pudiera ser objeto de suspensién automatica en virtud de
Seccién 362 del Codigo de Bancarrota de los Estados Unidos. No obstante, puede ser una notificacién de una posible aplicacién de
gravamen sobre la propiedad como garantia, que atin no ha sido descargada en su proceso de bancarrota.

Atencién Miembros del Servicio Militar y Dependientes: Ley de Amparo Civil para miembros del servicio militar y ciertas leyes
estatales proporcionan protecciones importantes para usted, incluyendo protecciones de tasas de interés y prohibiendo la ejecucién
hipotecaria bajo la mayoria de las circunstancias durante y doce meses después del miembro del servicio militar u otro servicio.
Asesoramiento para militares con cobertura esta disponible de Military OneSource (800-342-9647) y la Asistencia Legal de las Fuerzas
Armadas de Estados Unidos o de otras agencias similares. Para mas informacion por favor visite el sitio web de Military OneSource
www. tnilitaryonesource.mil/.

Aviso de Error o la Direccién de Peticién de Informacién Usted tiene ciertos derechos en virtud de la ley federal relacionados con la
resolucion de errores en el servicio de su préstamo y la solicitud de informacién sobre su préstamo. Si desea solicitar informacién sobre
su préstamo o si usted cree que un error ha ocurrido en el servicio de su préstamo y desea presentar una resolucién de errores 0 solicitud
de informaci6n, por favor escribanos a la siguiente direccion: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

The following is a Chinese translation of the information provided above.

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Fax: 866-467-1187
Email: Lossmitigation@shellpointmtg.com
Mon - Thurs: 8:00AM-6:00PM
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1769 OENOKE RICH

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01/30/2018
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RE: Deed of Trust/Mortgage Dated: 04/17/2000
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of listing the property for sale pursuant to the foreclosure by market sale process;

(4) Ifyou and Shellpoint agree to proceed with further discussions concerning an acceptable listing agreement, you must first
permit an appraisal to be obtained in accordance with C.G.S. Section 49-24(4) for purposes of verifying eligibility for
foreclosure by market sale;

(5) The appraisal will require both an interior and exterior inspection of the property;

(6) The terms and conditions of the listing agreement, including the duration and listing price, must be acceptable to both you and
Shellpoint;

(7) The terms and condition of any offer to purchase, including the purchase price and any contingencies, must be acceptable to
both you and Shellpoint;

(8) Ifan acceptable offer is received, you will sign an agreement to sell the property through a foreclosure by market sale.
IF YOU CONSENT TO FORECLOSURE BY MARKET SALE, YOU WILL NOT BE ELIGIBLE FOR FORECLOSURE

MEDIATION IN ANY TYPE OF FORECLOSURE ACTION THAT IS COMMENCED FOLLOWING THE GIVING OF
SUCH CONSENT.

Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan espafiol al nimero
866-825-2174.

Sincerely,

Shellpoint Mortgage Servicing
Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 35 of 57

FORECLOSURE MEDIATION STATE OF CONNECTICUT
NOTICE OF COMMUNITY-BASED SUPERIOR COURT
RESOURCES ADA NOTICE JUDICIAL BRANCH

The Judicial Branch of the State of Connecticut www.jud.ct.gov
complies with the Americans with Disabilities Act
(ADA). If you need a reasonable accommodation in
accordance with the ADA, contact a court clerk or an
ADA contact person listed at www.jud.ct.gow/ADA.

JD-CV-126 Rev. 7-16
C.G.S. § 49-31/

State of Connecticut Department of Banking
Foreclosure Hotline Bulletin
Community-Based Resources for Connecticut Homeowners in Foreclosure

Note: Assistance in multiple languages is available through Connecticut Housing Finance Authority (CHFA/HUD)-approved housing
counseling agencies (refer to the list below). Ayuda en Espafiol es disponible a través de agencias de consejeria de vivienda
aprobado por CHFA/HUD (favor de referirse a la lista de abajo).

Toll-free Mortgage Foreclosure Assistance Hotline: 1-877-472-8313
Department of Banking Website: www.ct.gov/dob

The free Foreclosure Hotline is open Monday-Friday 8:00 a.m. to 5:00 p.m. Calls will be returned within two business days.
Homeowners who are currently a party to a foreclosure action with time sensitive foreclosure concerns should call the Hotline for
assistance. You can also reach the Department of Banking by calling 1-800-831-7225 (toll-free) or 860-240-8299.

Mortgage Assistance Programs from the Connecticut Housing
Finance Authority (CHFA)

The Connecticut Housing Finance Authority administers the state's Emergency Mortgage Assistance Program (EMAP) which
was created by the Connecticut General Assembly. EMAP can help eligible homeowners with overdue payments and provide
monthly mortgage assistance. For more information, contact a CHFA/HUD-approved housing counseling agency (listed below), call
CHFA at 1-877-571-2432, or visit www.chfa.org.

CHFA/HUD-Approved Housing Counselors: CHFA/HUD-approved housing counselors provide free services to
Connecticut homeowners who are struggling financially and may be at risk of foreclosure. They can review your budget
and try to find ways to help with your financial issues. They are trained in handling FHA and “conventional” loans and
can help you negotiate with your mortgage company or apply to CHFA for an Emergency Mortgage Assistance loan.|f a
foreclosure case has been filed against you and you have asked to participate in the Foreclosure Mediation Program,
they can help you get ready for mediation (including the Premediation meetings with your mediator) and help you
submit financial documents to your mortgage company as part of the mediationprocess. CHFA/HUD approved housing
counselors welcome residents from all over Conneticut. You do not need to go to the agency closest to you.

|

County CHFA/HUD-Approved Housing Counseling Agency Phone

Fairfield | Bridgeport Neighborhood Trust, 570 State Street, Bridgeport www.bntweb.org | 203-290-4255

| Community Renewal Team, 395 Wethersfield Ave., Hartford www.crtct.org _| 860-560-5880

Hartford | Neighborhood Housing Services of New Britain, 223 Broad St., New Britain
www.nhsnb.org 860-224-2433

Neighborhood Housing Services of New Haven, 333 Sherman Ave., New Haven

www.nhsofnewhaven.org 203-777-6925

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New Haven Capital for Change, Inc., 171 Orange St., New Haven www.gnhelf.org 203-624-7406

Neighborhood Housing Services of Waterbury, 161 North Main
StreetWaterbury www.nhsofwaterbury.org (serves Waterbury, Naugatuck, 203-753-1896
_Torrington, and all of Northwest CT)

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Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 36 of 57
Legal Resources

Foreclosure Prevention Legal Clinics: The Connecticut Fair Housing Center and the Department of Banking present free clinics
for homeowners in foreclosure. The clinics offer information on the process and on preparing for court from a Center attorney,
guidance on resources for homeowners from the Department of Banking. After the presentations, homeowners can talk about their
situations one-on-one with volunteer attorneys, paralegals. When scheduled in Hartford County, the clinic is held on the 3rd
Tuesday evening of the month, and is run by the Connecticut Fair Housing Center and the University of Hartford Paralegal
Studies Program. When scheduled in Fairfield County, the clinic is held on the 3rd Wednesday evening of the month, and is
run by the Connecticut Fair Housing Center and Homes Saved By Faith. The Fairfield County clinics are sponsored by the mayors
of Bridgeport, Stamford, and Norwalk. Call 1-888-247-4401 or visit www.ctfairhousing.org for more information.

Judicial Branch Foreclosure Volunteer Attorney Program: Volunteer attorneys are available to give advice and answer
questions about foreclosure at certain courthouses in the state. Homeowners facing foreclosure throughout Connecticut are
welcome to attend. Call 860-263-2734 for additional information or visit http://www.jud.ct.gov/volunteer_atty_prgm.htm.

Foreclosure Manual for Self-Represented Homeowners: The Connecticut Fair Housing Center publishes “Representing Yourself
in Foreclosure: A Guide for Connecticut Homeowners,” a free manual describing the foreclosure and mediation process for
self-represented homeowners. Copies are available at many locations, such as CHFA/HUD-approved housing counselors,
www.ctfairhousing.org, and by calling the Center at 1-888-247-4401.

Statewide Legal Services (SLS): SLS provides free legal advice and referrals for callers qualifying for its services (guidelines
include income limits). Call 1-800-453-3320 or 860-344-0380 or visit www.slsct.org for more information.

Court Service Centers: In certain Superior Court locations, Court Service Centers provide public access computers, printers, fax
machines, copiers, phones, and work space for self-represented parties. Refer to www.jud.ct.gov, and go to the Quick Links
menu on the home page of the Judicial website for more information.

Lawyer Referral Services: County Bar Associations in Connecticut offer referral services that introduce homeowners to lawyers
who can answer questions during an initial half-hour consultation. You can send an email with your questions and availability.
Services beyond the 1st half-hour fee will be at the attorney's usual fee.

County | Phone SS cia | Website Email
Fairfield | 203-335-4116 | $35 www fairfieldlawyerreferral.com fcba@conversent.net
Hartford* | 860-525-6052 $25 www.hartfordbar.org hcba@hartfordbar.org
‘New Haven | 203-562-5750 $35 www.newhavenbar.org NHCBAinfo@newhavenbar.org |
New London | 860-889-9384 | $25 www.nicba.org See website for contact form

*The Hartford County Bar also covers Litchfield, Middlesex, Tolland, and Windham Counties.

How Foreclosure Rescue Scams Work. People in foreclosure are often the target of “foreclosure rescue scams.” Be very
careful of non-lawyers who ask you to pay a fee for counseling, loan modification, foreclosure prevention, or a “forensic audit” of
your loan documents, regardless of their promises or claims. Many out-of-state attorneys target Connecticut residents: you
should never pay attorneys that you do not meet. Contact the Department of Banking for more information at 1-877-472-8313 or
visit www. preventioanscams.org.

Mortgage Crisis Job Training Program. The state-funded Mortgage Crisis Job Training Program is a project of The
WorkPlace, Inc., in partnership with the Connecticut Housing Finance Authority (CHFA), Capital Workforce Partners, and
Connecticut's workforce system. The Program helps homeowners increase their job skills and earning potential. It offers customized
employment services, job training scholarships, financial literacy, and credit counseling. For information call 1-866-683-1682 or go
to www.workplace.org/mortgage-crisis-job-training-program/.

Financial Assistance Programs. Connecticut's 12 Community Action Agencies (CAAs) help people meet immediate needs
through services such as Eviction and Foreclosure Prevention, energy/heating assistance, food pantries, and weatherization. CAAs
also empower people to improve their financial future through employment services, financial literacy training, and other programs.
To locate your local CAA call the Connecticut Association for Community Action at 860-832-9438 or visit:
www.cafca.org/our-network.

For more information on programs for homeowners facing financial distress, review the Department of Banking's materials on
www.ct.gov/dob or call 1-877-472-8313. You can also call Info line at 2-1-1 for resources.

JD-CV-126 Rev. 7-16
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If you have submitted a complete borrower response package and are currently in an active loss mitigation review, you will not be referred
to foreclosure. If your loss mitigation application is denied or you fail to meet the terms of the new loss mitigation agreement, then you
may be referred to foreclosure or continue with the foreclosure process.

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Please read the following important notices as they may affect your rights.

This is an attempt to collect a debt and any information obtained will be used for that purpose. This communication is from a debt
collector.

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important
protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months
after the servicemember’s military or other service. Counseling for covered servicemembers is available from Military OneSource
(800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more information, please visit the
Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

The following is a Spanish translation of the information provided above.
Lea por favor las siguientes avisos importantes que puedan afectar sus derechos.

Esto es un intento de cobrar una deuda y cualquier informacién obtenida se utilizara para ello. Esta comunicacién es de un cobrador de
deudas.

Si usted es un cliente en situacién de bancarrota o un cliente que ha recibido una descarga de bancarrota de la deuda: tenga en cuenta que
este aviso es para informarle de la situacién de su préstamo hipotecario. Este aviso no constituye una exigencia de pago ni un aviso de
responsabilidad civil contra ninguno de los destinatarios de la presente notificacién, que pudiese haber recibido un descargo de este tipo
de deuda de conformidad con la legislacién vigente sobre bancarrota 0 que pudiera ser objeto de suspensi6én automatica en virtud de
Seccién 362 del Codigo de Bancarrota de los Estados Unidos. No obstante, puede ser una notificacién de una posible aplicacién de
gravamen sobre la propiedad como garantia, que atin no ha sido descargada en su proceso de bancarrota.

Atencién Miembros del Servicio Militar y Dependientes: Ley de Amparo Civil para miembros del servicio militar y ciertas leyes
estatales proporcionan protecciones importantes para usted, incluyendo protecciones de tasas de interés y prohibiendo la ejecucién
hipotecaria bajo la mayorfa de las circunstancias durante y doce meses después de! miembro del servicio militar u otro servicio.
Asesoramiento para militares con cobertura esta disponible de Military OneSource (800-342-9647) y la Asistencia Legal de las Fuerzas
Armadas de Estados Unidos 0 de otras agencias similares. Para mas informacién por favor visite el sitio web de Military OneSource
www. militaryonesource.mil/,

Aviso de Error o la Direccién de Peticién de Informacién Usted tiene ciertos derechos en virtud de la ley federal relacionados con la
resolucion de errores en el servicio de su préstamo y la solicitud de informacién sobre su préstamo. Si desea solicitar informacion sobre
su préstamo o si usted cree que un error ha ocurrido en el servicio de su préstamo y desea presentar una resolucién de errores 0 solicitud
de informacién, por favor escribanos a la siguiente direccién: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

The following is a Chinese translation of the information provided above.

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LIVONIA MI 48151-5850

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NEW CANAAN CT 06840-2643

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Case 23-05009 Doci1-7 Filed 05/24/23 Entered 05/24/23 11:28:27 S edd poiAt

P.O. BOX 51850 > Servicin:
LIVONIA MI 48151-5850 eee — Mortgage Servicing |
RETURN SERVICE REQUESTED Phone Number: 866-825-2174 us

Fax: 866-467-1187
Email: Lossmitigation@shellpointmtg.com
Mon - Thurs: 8:00AM-6:00PM

Nga Lge Da NDUNY A Loe Ag ge AN gg PA yyy LUCY |fafg teen ef E Meee yy Fri: 8:00AM-5:00PM

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1769 OENOKE RIDGE RD Principal Balance: | $1,478,221.71
NEW CANAAN CT 06840-2643 — =

04/19/2018

EMERGENCY MORTGAGE ASSISTANCE PROGRAM (EMAP)
NOTICE TO MORTGAGOR

Dear Mortgagor(s):

You may be eligible for emergency mortgage assistance payments under the provision of sections 8-265cc through 8-265kk of the
Connecticut General Statutes, as amended by Public Act 08-176, known as the Emergency Mortgage Assistance Program (“EMAP”),

The purpose of this letter is to notify you of the following:

1. The Connecticut Housing Finance Authority (the “Authority’) is currently accepting applications for emergency
assistance payments under the program, and your mortgage qualifies for consideration.

2. You are delinquent or in default on loan number ' for failure to make payments since 12/01/2017. The total
default amount is $51,651.77.

3. Within 60 days of the date of this letter, you have the right to have a face-to-face meeting or a telephone conference
with your Mortgagee or other conference acceptable to the Authority or a face-to-face meeting with one of the
Authority’s designated consumer credit counseling agencies (see attached list of agencies) to attempt to reach an
agreement to resolve the delinquency or default by restructuring the loan payment schedule or such other resolution.

4. Within 60 days of the date of this letter, you also have the right to contact the Authority to obtain information and to
apply for emergency mortgage assistance payments if you and Shellpoint Mortgage Servicing are unable to resolve the
delinquency or default. The address for the Authority is 999 West Street, Rocky Hiil, Connecticut 06067. The
Authority’s telephone number is (860) 721-9501, and the fax number is (860) 571-4352.

You are encouraged to speak to an attorney for independent legal advice about EMAP.
Should you have questions, please contact us at 866-825-2174.

Sincerely,

Shellpoint Mortgage Servicing

Enclosure: Agency List Title

SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.

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Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 41 of 57
CHFA/HUD Approved Foreclosure Prevention Counseling Agencies

Catholic Charities, Diocese of Norwich
860-889-8346 ext. 271

Community Renewal Team (CRT)
Hartford
860-560-5800

Co-opportunity Inc.
Hartford
860-236-3617 ext.100

Greater New Haven Community Loan Fund
New Haven
203-624-7406 ext. 130

Housing Development Fund
Bridgeport and Danbury
203-969-1830 ext. 27

Housing Education Resource Center
Hartford
860-296-4242 ext. 107

Mission of Peace, Bridgeport
203-366-4180

Neighborhood Housing Services of New Britain
860-224-2433

Neighborhood Housing Services of New Haven
203-777-6925 ext. 26

Neighborhood Housing Services of Waterbury
203-753-1896 ext. 9

Urban League of Greater Hartford
860-527-0147 ext. 281

Urban League of Southern Connecticut

Stamford
203-327-5810

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Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 42 of 57

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If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
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to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important
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deudas.

Si usted es un cliente en situacién de bancarrota o un cliente que ha recibido una descarga de bancarrota de la deuda: tenga en cuenta que
este aviso es para informarle de la situacion de su préstamo hipotecario. Este aviso no constituye una exigencia de pago ni un aviso de
responsabilidad civil contra ninguno de los destinatarios de la presente notificacién, que pudiese haber recibido un descargo de este tipo
de deuda de conformidad con la legislacién vigente sobre bancarrota o que pudiera ser objeto de suspensién automatica en virtud de
Seccién 362 del Cédigo de Bancarrota de los Estados Unidos. No obstante, puede ser una notificacion de una posible aplicacién de
gravamen sobre la propiedad como garantia, que atin no ha sido descargada en su proceso de bancarrota.

Atencién Miembros del Servicio Militar y Dependientes: Ley de Amparo Civil para miembros del servicio militar y ciertas leyes
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www.militaryonesource.mil/.

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resolucion de errores en el servicio de su préstamo y la solicitud de informacion sobre su préstamo. Si desea solicitar informacion sobre
su préstamo o si usted cree que un error ha ocurrido en el servicio de su préstamo y desea presentar una resolucion de errores o solicitud
de informacion, por favor escribanos a la siguiente direccién: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

The following is a Chinese translation of the information provided above.

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“SS Big” , HE(SAR1, tee EF: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

If you prefer to receive communication in a language other than English, Spanish, or Chinese, please contact us at 866-825-2174 to speak with <
translator in your preferred language about the servicing of your loan or a document you received.

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Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 43 of 57
P.O. BOX 51850

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P.O. BOX 51850
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Mortgage Servicing

RETURN SERVICE REQUESTED ; Phone Number: 866-825-2174

Fax: 866-467-1187
Email: Lossmitigation@shellpointmtg.com
Mon - Thurs: 8:00AM-6:00PM

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SUNEETA P KRISHNA Loan Number: | -
1769 OENOKE RIDGE RD |Principal Balance: | $1 478,221.71

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NEW CANAAN CT 06840-2643

04/19/2018

EMERGENCY MORTGAGE ASSISTANCE PROGRAM (EMAP)
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delinquency or default. The address for the Authority is 999 West Street, Rocky Hill, Connecticut 06067. The
Authority’s telephone number is (860) 721-9501, and the fax number is (860) 571-4352.

You are encouraged to speak to an attorney for independent legal advice about EMAP.

Should you have questions, please contact us at 866-825-2174.

Sincerely,

Shellpoint Mortgage Servicing

Enclosure: Agency List Title

SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.

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Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 45 of 57
CHFA/HUD Approved Foreclosure Prevention Counseling Agencies

Catholic Charities, Diocese of Norwich
860-889-8346 ext. 271

Community Renewal Team (CRT)
Hartford
860-560-5800

Co-opportunity Inc.
Hartford
860-236-3617 ext.100

Greater New Haven Community Loan Fund
New Haven

203-624-7406 ext. 130

Housing Development Fund
Bridgeport and Danbury
203-969-1830 ext. 27

Housing Education Resource Center
Hartford
860-296-4242 ext. 107

Mission of Peace, Bridgeport
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860-224-2433

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Urban League of Greater Hartford
860-527-0147 ext. 281

Urban League of Southern Connecticut

Stamford
203-327-5810

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Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 46 of 57

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LIVONIA MI 48151-5850
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1769 OENOKE RICH

NEW CANAAN CT 06840

Mortgage Servicing
Phone Number: 866-825-2174
Fax: 866-467-1187
Email: Lossmitigation@shellpointmtg.com
Mon - Thurs: 8:00AM-6:00PM
Fri: 8:00AM-5:00PM

ax ale

| Loan Number: [

[Principal Balance: | $1,478,221.71

04/19/2018

EMERGENCY MORTGAGE ASSISTANCE PROGRAM (EMAP)
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~ for failure to make payments since 12/01/2017. The total

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Enclosure: Agency List Title

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Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 49 of 57
CHFA/HUD Approved Foreclosure Prevention Counseling Agencies

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mae steseeo wpe Mortgage Servicing
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Fax: 866-467-1187
Email: Lossmitigation@shellpointmtg.com
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1769 OENOKE RIDGE RD Principal Balance: | $1,478,221.71
NEW CANAAN CT 06840-2643 , :

04/19/2018

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Case 23-05009 Doci-7 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 52 of 57
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SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.

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CHFA/HUD Approved Foreclosure Prevention Counseling Agencies

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Catholic Charities, Diocese of Norwich
860-889-8346 ext. 271

Community Renewal Team (CRT)
Hartford
860-560-5800

Co-opportunity Inc.
Hartford
860-236-3617 ext.100

Greater New Haven Community Loan Fund
New Haven
203-624-7406 ext. 130

Housing Development Fund
Bridgeport and Danbury
203-969-1830 ext. 27

Housing Education Resource Center
Hartford
860-296-4242 ext. 107

Mission of Peace, Bridgeport
203-366-4180

Neighborhood Housing Services of New Britain
860-224-2433

Neighborhood Housing Services of New Haven
203-777-6925 ext. 26

Neighborhood Housing Services of Waterbury
203-753-1896 ext. 9

Urban League of Greater Hartford
860-527-0147 ext. 281

Urban League of Southern Connecticut

Stamford
203-327-5810

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Please read the following important notices as they may affect your rights.

This is an attempt to collect a debt and any information obtained will be used for that purpose. This communication is from a debt
collector.

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If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important
protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months
after the servicemember’s military or other service. Counseling for covered servicemembers is available from Military OneSource
(800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more information, please visit the
Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

The following is a Spanish translation of the information provided above.
Lea por favor las siguientes avisos importantes que puedan afectar sus derechos.

Esto es un intento de cobrar una deuda y cualquier informacion obtenida se utilizara para ello. Esta comunicacion es de un cobrador de
deudas.

Si usted es un cliente en situacion de bancarrota o un cliente que ha recibido una descarga de bancarrota de la deuda: tenga en cuenta que
este aviso es para informarle de la situacion de su préstamo hipotecario. Este aviso no constituye una exigencia de pago ni un aviso de
responsabilidad civil contra ninguno de los destinatarios de la presente notificacién, que pudiese haber recibido un descargo de este tipo
de deuda de conformidad con la legislaci6n vigente sobre bancarrota o que pudiera ser objeto de suspensién automatica en virtud de
Seccién 362 del Cédigo de Bancarrota de los Estados Unidos. No obstante, puede ser una notificacion de una posible aplicacién de
gravamen sobre la propiedad como garantia, que atin no ha sido descargada en su proceso de bancarrota.

Atencién Miembros del Servicio Militar y Dependientes: Ley de Amparo Civil para miembros del servicio militar y ciertas leyes
estatales proporcionan protecciones importantes para usted, incluyendo protecciones de tasas de interés y prohibiendo la ejecucién
hipotecaria bajo la mayoria de las circunstancias durante y doce meses después del miembro del servicio militar u otro servicio.
Asesoramiento para militares con cobertura esta disponible de Military OneSource (800-342-9647) y la Asistencia Legal de las Fuerzas
Armadas de Estados Unidos o de otras agencias similares. Para mas informacion por favor visite el sitio web de Military OneSource
www.inilitaryonesource.mil/.

Aviso de Error o la Direccién de Peticién de Informacién Usted tiene ciertos derechos en virtud de la ley federal relacionados con la
resolucién de errores en el servicio de su préstamo y la solicitud de informacién sobre su préstamo. Si desea solicitar informacién sobre
su préstamo o si usted cree que un error ha ocurrido en el servicio de su préstamo y desea presentar una resolucién de errores o solicitud
de informacién, por favor escribanos a la siguiente direccién: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

The following is a Chinese translation of the information provided above.

WAKUF REE, AACN RERMEHRA.
ARAL ARIE TR — Pe ah. ARR AE i SA Pi A. J eR CLA A

BOT RSE RE EP RP NAL SRA ASS STD PE SR ET REAR AS. AURA AY AT I SC
AY TE (ol ESS SUA AEA FAN Ey VDT TR BLAM HR ZA, RTA CELL OL > A 362 SVM ESHA A
(EY PER BERR DS A BYTE. CELE UA UT 9G Zeta TEE RT PE) AS, ASA re A HR I) AP TR

SARRRAR REAR, BER: GI CRRA RRSRBVKE) RERANCH S AIH R EIRP. PR CEARIA mR
Wek FAR S AZAR OSA Zh te Sata FA A I PE AAT EEL. Military OneSource (800-342-
9647) A 5e El Re AG BAVA ESR BNP! | (United States Armed Forces Legal Assistance) BYE (th 2S (WAHLER SS WHE SRIF IRS AYR
ARBRKAWIMRS. MHLS AR, VI Military OneSource ii: www.militaryonesource.mil/.

AER ERS BRB AIBR HEIR, UT YE TRIBE IEA SOS PRR AI RE
MAE. WRIA ATR a. DOPE IN TERE HT ES EB IR, TABREE SE “EIR” Oe
“BB RBiDR” , WSs), Hohk4oo F: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826

If you prefer to receive communication in a language other than English, Spanish, or Chinese, please contact us at 866-825-2174 to speak with ¢
translator in your preferred language about the servicing of your loan or a document you received.

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CERTIFICATION

I certify that a copy of the above was or will immediately be mailed or delivered
electronically or non-electronically on August 9, 2019, to all counsel and self-represented parties
of record and that written consent for electronic delivery was received from all counsel and self-
represented parties of record who were or will immediately be electronically served, as follows:

Suneeta P Krishna a/k/a
Suneeta Prasad a/k/a

Suneeta Prasad Krishna a/k/a
Suneeta Krishna, Pro Se
1769 Oenoke Ridge

New Canaan, CT 06840

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eoshaughnessy@mlg-defaultlaw.com

O’CONNELL, ATTMORE,& MORRIS, LLC
280 TRUMBULL STREET, HARTFORD, CT 06103-3598
PHONE NO. (860) 548-1300; FAX NO. (860) 548-0023
JURIS NO. 104083

Anja RusiZ/

Commissioner of the Superior Court

